      Case 1:20-cv-01419-APM Document 241 Filed 08/26/21 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
DOMINGO ARREGUIN GOMEZ, et al.,                )
                                               )
            Plaintiffs,                        )
                                               )
      v.                                       )
                                               )   Civil Action No. 20-1419 (APM)
DONALD J. TRUMP, President of the United       )
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )
                                               )

                                               )
MOHAMMED ABDULAZIZ ABDULBAGI                   )
MOHAMMED, et al.,                              )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )   Civil Action No. 20-1856 (APM)
                                               )
MICHAEL R. POMPEO, Secretary,                  )
U.S. Department of State, et al.,              )
                                               )
             Defendants.                       )
                                               )

                                               )
CLAUDINE NGUM FONJONG, et al.,                 )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )
                                                   Civil Action No. 20-2128 (APM)
                                               )
DONALD J. TRUMP, President of the United       )
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )


                                           1
         Case 1:20-cv-01419-APM Document 241 Filed 08/26/21 Page 2 of 4




                                                    )
 AFSIN AKER, et al.,                                )
                                                    )
                Plaintiffs,                         )
                                                    )
         v.                                         )     Civil Action No. 20-1926 (APM)
                                                    )
 DONALD J. TRUMP, President of the United           )
 States of America, et al.,                         )
                                                    )
                Defendants.                         )
                                                    )

                                                    )
 MORAA ASNATH KENNEDY, et al.,                      )
                                                    )
                Plaintiffs,                         )
                                                    )
         v.                                         )
                                                          Civil Action No. 20-2639 (APM)
                                                    )
 DONALD J. TRUMP, President of the United           )
 States of America, et al.,                         )
                                                    )
                Defendants.                         )
                                                    )


              DEFENDANTS’ NOTICE OF LODGING OF DECLARATIONS

        Defendants respectfully submit this Notice of Lodging of Declarations to be considered

with Defendants’ portion of the Joint Status Report, which was filed on August 26, 2021 (ECF

240).

        Defendants’ portion of the Joint Status Report contains references to the declarations of

Neal Vermillion, Division Chief, Outreach and Inquiries Division, Office of Field Operations of

the Visa Office, Bureau of Consular Affairs, U.S. State Department, and Gulcin Halici, Team

Lead, Systems Development and Liaison Team, Office of Information Management and Liaison

of the Visa Office, Bureau of Consular Affairs, U.S. State Department.

                                                2
       Case 1:20-cv-01419-APM Document 241 Filed 08/26/21 Page 3 of 4




August 26, 2021                          Respectfully submitted,


                                         BRIAN M. BOYNTON
                                         Acting Assistant Attorney General, Civil
                                         Division
                                         WILLIAM C. PEACHEY
                                         Director, Office of Immigration Litigation,
                                         District Court Section
                                         COLIN A. KISOR
                                         Deputy Director
                                         GLENN M. GIRDHARRY
                                         Assistant Director
                                         JOSHUA PRESS
                                         Senior Litigation Counsel

                                         /s/ James J. Wen
                                         JAMES J. WEN
                                         ERIC C. STEINHART
                                         Trial Attorneys
                                         U.S. Department of Justice, Civil Division
                                         Office of Immigration Litigation – DCS
                                         P.O. Box 868, Ben Franklin Station
                                         Washington, DC 20044
                                         Tel: (202) 532-4142
                                         Email: james.j.wen@usdoj.gov

                                         Attorneys for Defendants




                                     3
        Case 1:20-cv-01419-APM Document 241 Filed 08/26/21 Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2021, I electronically filed the foregoing document with

the Clerk of the United States District Court for the District of Columbia by using the CM/ECF

system. Counsel in the case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.



                                                     /s/ James J. Wen
                                                     JAMES J. WEN
                                                     Trial Attorneys
                                                     U.S. Department of Justice, Civil Division
                                                     Office of Immigration Litigation – DCS




                                                4
